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                                                                                               FILED
                                                                                          U.S. DISTRICT COURT
                                                                                      EASTERN DISTRICT ARKANSAS


                            UNITED STATES DISTRICT COURT                                  SEP 01 2017
                            EASTERN DISTRICT OF ARKANSAS                        JAMESliCORMACK, CLERK
                                 WESTERN DIVISION                                        ~
                                                                                By: ~--------~~__,..DE~P-C-LE_R_K

KENNETH AND MARY STOKES                                                        PLAINTIFFS

vs.                             CASE NO.: 4:17-cv-425 KGB

EVERGREEN PARTNERSHIP; RPM COMMERICAL, INC. d/b/a
COLDWELL BANKER COMMERICAL RPM;
RECTOR-PHILLIPS-MORSE, INC. d/b/a RPM GROUP; and
ST. VINCENT INFIRMARY MEDICAL CENTER
d/b/a ST. VINCENT MEDICAL CLINIC MIDTOWNE                                     DEFENDANTS

                                    AMENDED COMPLAINT

        Plaintiffs, for their Amended Complaint against defendants, state:

1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq., ("ADA"), as well as general

negligence. This court is vested with original jurisdiction under 28 U.S.C. §§ 1331 and 1343.

2.      Venue is proper in this Court, the Eastern District of Arkansas, pursuant to 28 U.S.C. §

1391(B) and Local Rules of the United States District Court for the Eastern District of Arkansas.

3.      Plaintiffs, Kenneth ("Mr. Stokes") and Mary Stokes ("Mrs. Stokes"), are citizens and

residents of Pulaski County, Arkansas.

4.      Mr. Stokes is a qualified individual with a disability under the ADA. Mr. Stokes suffers

from a "qualified disability" under the ADA and all other applicable Federal statutes and

regulations to the extent that he does not have full independent mobility, and relies on the use of

a mobility walker ("walker").

5.      Defendant Evergreen Partnership is the owner of the subject premises located at 1100 N

University Ave Suite #1, Little Rock, AR 72207. This defendant took title to the property in

2013.
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6.     Defendant RPM Commercial, Inc., d/b/a Coldwell Banker Commercial RPM is a

corporation organized under and doing business in the State of Arkansas. This defendant

operates the leasing of the subject premises.

7.     Defendant Rector-Phillips-Morse, Inc. d/b/a RPM Group is a corporation organized under

and doing business in the State of Arkansas. This defendant operates the leasing of the subject

premises.

8.     Defendant St. Vincent Infirmary Medical Center d/b/a St. Vincent Medical Clinic

Midtowne is a corporation organized under and doing business in the State of Arkansas. This

defendant is the lessee of the subject premises and utilizes the parking lot for the clinic's benefit.

9.     On or about December 9, 2016, Mr. Stokes accompanied Mrs. Stokes on a medical visit

to the subject premises, the St. Vincent Primary Care "Midtowne" facility ("facility") located in

Little Rock, Arkansas.

10.    As Mr. Stokes left the facility, he was using his walker to navigate the parking lot access

to the handicap parking space when upon reaching the bottom of the slope, due to the

unreasonable and impermissible slope of the parking lot, he lost control, and fell head first over

his walker, and was pinned underneath his car. It took several minutes, and the assistance of third

parties, to help Mr. Stokes get back to his feet. Mr. Stokes suffered significant injuries to head

and other parts of his body and was hospitalized for multiple weeks.

11.    The parking lot of the subject premises has been re-striped, re-paved, re-asphalted, re-

shaped and the handicapped spaces marked and laid out since at least after 1992. In fact, visual

observation of the parking lot and the handicap parking spaces reveals that it appears the parking

lot and the spaces have been constructed or re-paved and marked in the last few years, but

certainly since after 1992.
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                             COUNT I- VIOLATION OF THE ADA

12.     The slope of the parking lot that accesses the handicapped parking space for the subject

premises surpasses the permissible slope under the ADA. Additionally, there is indentation at the

base of the ramp that can act as an impediment for a wheel chair or walker. The excessive slope

and indentation, individually and collectively, create an unreasonable risk of injury for all

handicapped persons that are trying to access the handicapped parking spaces.

13.    Defendants should be required to remedy the ADA violations by bringing the parking lot

slope and grade into compliance and by properly placing, marking and giving ADA compliant

access to the parking lot and handicap parking spaces.

14.     Plaintiffs should be awarded their attorneys fees and costs expended related to the ADA

violations and redress.

                                   COUNT II- NEGLIGENCE

15.    The defendants were negligent in the construction, design, upkeep and maintenance of

the parking lot access to the handicap parking space at the subject premises. This negligence

proximately caused the damages sustained by the plaintiff. Further, the ADA violations

demonstrate defendants' negligence.

16.    As a result of this incident, Mr. Stokes sustained serious injuries and lifelong scarring.

Both plaintiffs have suffered pain, mental anguish, and emotional distress that will continue into

the future. Mr. Stokes has scars and disfigurements, and has sustained permanent injuries. The

injuries suffered justify an award in excess of $75,000.

17.    Plaintiffs demand a trial by jury.

       WHEREFORE, plaintiffs pray judgment against defendants for an amount in excess of

$75,000 each, for their cost and all other proper relief.
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                                     Respectfully submitted,

                                     Timothy 0. Dudley, #82055
                                     114 South Pulaski Street
                                     Little Rock, AR 72201
                                     (501) 372-0080
                                     Todudley@swbell.net




                                     Danny R. Crabtree, #2004006
                                     114 S. Pulaski St.
                                     Little Rock, AR 72201
                                     501-372-0080
                                     danny.crabtree@sbcglobal.net



                                     BY:
                                        Danny R. Crabtree

                                CERTIFICATE OF SERVICE

       I hereby certify that on this the 1st day of September, 2017, a copy of the above and
foregoing was filed via the Court's ECF system, with notice being sent to the following:

Jack S. Cherry
jcherry@barberlawfirm.com

Scott M. Strauss
sstrauss@barberlawfirm.com


                                                       ~
                                                    Danny R. Crabtree
